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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

  WOLFRAM ARNOLD, ERIK FROESE,
  TRACY HAWKINS, JOSEPH KILLIAN,
  LAURA CHAN PYTLARZ, and ANDREW
  SCHLAIKJER,

                   Plaintiffs,                        C.A. No. 1:23-cv-528-JLH-CJB
         v.

  X CORP. f/k/a TWITTER, INC., X
  HOLDINGS CORP. f/k/a X HOLDINGS I,
  INC., and ELON MUSK,

                   Defendants.


   DEFENDANT X CORP. f/k/a TWITTER, INC. AND X HOLDINGS CORP. f/k/a X
   HOLDINGS I, INC.’S BRIEF IN OPPOSITION TO MOTION FOR LEAVE TO FILE
                          AMICUS BRIEF (D.I. 115-1)



  Dated: January 2, 2025                     MORGAN, LEWIS & BOCKIUS LLP

  Eric Meckley (pro hac vice)                Jody C. Barillare (#5107)
  One Market, Spear Street Tower             1201 N. Market Street, Suite 2201
  San Francisco, CA 94105                    Wilmington, Delaware 19801
  415-442-1000                               302-574-7294
  eric.meckley@morganlewis.com               jody.barillare@morganlewis.com

  T. Cullen Wallace (pro hac vice)           Attorneys for Defendants X Corp. f/k/a Twitter,
  1000 Louisiana Street, Suite 4000          Inc. and X Holdings Corp. f/k/a X Holdings I,
  Houston, TX 77002-5005                     Inc.
  713-890-5722
  cullen.wallace@morganlewis.com
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 I.     NATURE AND STAGE OF PROCEEDINGS

        On December 5, 2024, Magistrate Judge Christopher J. Burke issued a Report and

 Recommendation (“R&R”) recommending that Defendants X Corp. f/k/a Twitter, Inc. and X

 Holdings Corp. f/k/a X Holdings I, Inc.’s (together, “Twitter”) Motion to Dismiss Counts I-IV and

 XIV of Plaintiffs’ First Amended Complaint (“MTD”) (D.I. 14) be granted in part and denied in

 part (D.I. 110). As relevant here, the R&R recommends dismissal of Counts I (Declaratory

 Judgment) and II (Breach of Merger Agreement) with prejudice. D.I. 110 at 38. Plaintiffs filed an

 objection to this portion of the R&R. D.I. 111. The Parties have stipulated to extend the deadline

 for Twitter’s response to Plaintiffs’ objections to January 9, 2025. D.I. 118.

        Presently before the Court is a motion on behalf of Emmanuel Cornet, Justine De Caires,

 Lenn Kindel (f/k/a Grae Kindel), Alexis Camacho, Jessica Pan, Emily Kim, Miguel Andres

 Barreto, and Brett Menzies Folkins (collectively, “Cornet Plaintiffs”) seeking leave to file a brief

 as purported amicus curiae in opposition to the R&R’s recommendation to dismiss Counts I and

 II. D.I. 115-1. Twitter objects to the Cornet Plaintiffs’ motion and respectfully requests that the

 Court deny the request for leave.

 II.    SUMMARY OF THE ARGUMENT

        1.      The Cornet Plaintiffs are not “friends of the court.” They are simply other co-

 plaintiffs asserting the same claims as the Arnold Plaintiffs, and they have failed to demonstrate

 that either their proposed brief or the confidential arbitration award on which it is based is in any

 way helpful or desirable to the Court. The Cornet Plaintiffs’ proposed filings simply parrot a less-

 developed version of the same arguments that the Arnold Plaintiffs have twice presented to this

 Court and which the Magistrate Judge expressly considered and rejected in issuing his R&R. The

 proposed amicus brief offers nothing additional of substance, apart from its improper attempt to

 make public a confidential arbitration award.

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        2.      The confidential arbitration award that serves as the basis for the Cornet Plaintiffs’

 two-page amicus brief is subject to a confidentiality provision that prohibits its disclosure and thus

 is not properly before the Court. The Cornet Plaintiffs have not demonstrated why they should be

 permitted to violate the confidentiality provisions prohibiting disclosure of this confidential award,

 and this Court should reject their attempt to do so.

 III.   STATEMENT OF FACTS

        A.      Twitter Enters Into a Merger Agreement that Twice Disclaims Continuing
                Employees as Third-Party Beneficiaries.

        On April 25, 2022, Twitter entered into the Merger Agreement with X Holdings I, Inc., X

 Holdings II, Inc., and, only for certain provisions, Elon R. Musk (the “Merger Agreement”). D.I.

 10 at ¶¶ 23-29; see also D.I. 16-1. Section 6.9(a) of the Merger Agreement states that “during the

 Continuation Period, Parent shall provide, or shall cause the Surviving Corporation or any of their

 Affiliates to provide severance payments and benefits to each Continuing Employee [i.e.,

 employees who remain at Twitter following the merger] whose employment is terminated during

 such period that are no less favorable than those applicable to the Continuing Employee

 immediately prior to the Effective Time under the Company Benefit Plans.” D.I. 16-1 at 66.

        Section 6.9(e) of the Merger Agreement, however, clarifies that: “[n]othing contained in

 this Section 6.9, express or implied, shall . . . constitute a limitation on rights to amend, modify,

 merge or terminate after [the closing date of the merger] any Company Benefit Plan, Post-Closing

 Plan or other employee benefit plan” or “give any Company Service Provider,” which is defined

 to include Twitter employees, “any third-party beneficiary or other rights.” Id. at 67; see also id.

 at 21. Section 9.7, entitled “No Third-Party Beneficiaries,” further confirms that the “Agreement

 is not intended to and shall not confer upon any Person other than the parties hereto any rights or




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 remedies hereunder,” with the exception of three expressly identified categories of individuals,

 none of which include Plaintiffs. Id. at 84.

        B.      The Cornett Plaintiffs File Claims Against Twitter for Alleged Breach of the
                Merger Agreement.

        On November 3, 2022, the Cornet Plaintiffs, represented by Lichten & Liss-Riordan, P.C.,

 filed a putative class action against Twitter (“Cornet Action”). Cornet v. Twitter, Inc., 23-cv-441-

 TMH, D.I. 1 (D. Del.).1 The Cornet Plaintiffs seek, inter alia, a declaratory judgment that

 Continuing Employees are third-party beneficiaries to the Merger Agreement as well as damages

 for failure to pay a certain level of severance benefits, which the Cornet Plaintiffs contend

 constitutes a breach of the Merger Agreement. Cornet Action D.I. 40 at 12, 15. Twitter filed a

 motion to dismiss the Cornet Plaintiffs’ claims arising out of the Merger Agreement, which

 remains pending before the Honorable Judge Todd M. Hughes. Cornet Action D.I. 77.2

        Concurrently with the Cornet Action, Lichten & Liss-Riordan filed arbitration claims on

 behalf of a number of other former Twitter employees. Cornet Action D.I. 115-1 at n.3. The

 arbitrations were brought pursuant to a Dispute Resolution Agreement (“DRA”) between Twitter

 and the claimants in which the parties mutually agreed to submit certain disputes to binding

 arbitration “on an individual basis only.” Cornet Action D.I. 18-1 at 14, 24, 34, 43, 50. The DRA

 also provides that, “[e]xcept as may be permitted or required by law, as determined by the

 Arbitrator, neither a party nor an Arbitrator may disclose the existence, content, or results of




 1
   The Cornet Plaintiffs’ suit was initially filed in the Northern District of California but was later
 transferred to the District of Delaware. Cornet Action D.I. 66.
 2
  The Arnold Plaintiffs previously filed a motion for leave to file an amicus brief in opposition to
 Twitter’s motion to dismiss in the Cornet Action. Cornet Action D.I. 85. Twitter opposed the
 Arnold Plaintiffs’ proposed amicus filing. Cornet Action D.I. 90. That motion remains pending
 with the Court.
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 any arbitration hereunder without the prior written consent of all parties.” Id. at 15, 25, 35, 44,

 51 (emphasis added).

        C.      The Arnold Plaintiffs File Claims for Breach of the Merger Agreement,
                Which the Magistrate Judge Recommends Be Dismissed.

        On May 16, 2023, Wolfram Arnold, Erik Froese, Tracy Hawkins, Joseph Killian, Laura

 Chan Pytlarz, and Andrew Schlaikjer (collectively, “Arnold Plaintiffs”) filed the instant action

 against Twitter. D.I. 1. Counts I and II of the Arnold Plaintiffs’ First Amended Complaint (D.I.

 10) are premised on the assertion that they are third-party beneficiaries to the Merger Agreement

 and therefore possess standing to sue for an alleged breach of the Merger Agreement. D.I. 10 at

 ¶¶ 313-24. Twitter moved to dismiss the claims based on the Merger Agreement, arguing that the

 Arnold Plaintiffs are not third-party beneficiaries to the Merger Agreement based on §§ 6.9 and

 9.7 of the Agreement, which disclaim the creation of any third-party beneficiary rights and reserve

 Twitter’s right to alter the terms of any employee benefit plan. D.I. 15 at 11-15.

        On December 5, 2024, Magistrate Judge Burke issued a R&R recommending, in relevant

 part, that the Court dismiss Counts I and II with prejudice for failure to state a claim. D.I. 110 at

 10-18. Judge Burke agreed with Twitter that §§ 6.9 and 9.7 of the Merger Agreement “demonstrate

 that the contracting parties to the merger agreement did not intend Plaintiffs to be third-party

 beneficiaries.” Id. at 13-14. The R&R carefully considered, but ultimately rejected, each of the

 Arnold Plaintiffs’ arguments to the contrary. Id. at 15-18.

        On December 18, 2024, the Arnold Plaintiffs filed an objection to this portion of the R&R,

 reiterating the same arguments that they raised in their objection to Twitter’s motion to dismiss.

 D.I. 111.




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        D.      The Cornet Plaintiffs Seek Leave to File an Amicus Brief.

        The following day, December 19, 2024, the Cornet Plaintiffs filed the instant Motion for

 Leave to File Amicus Brief (Under Seal) in Opposition to the Magistrate Judge’s Report and

 Recommendation. D.I. 115-1. The Cornet Plaintiffs’ six-page motion asserts that they should be

 permitted to file an amicus brief to have the Court consider a confidential arbitration award issued

 by a AAA arbitrator in an unrelated arbitration (“Confidential Award”). Id. at 2-3. Even though

 the subject arbitration claimant is not a party to either this action or the Cornet Action, the Cornet

 Plaintiffs assert that the Confidential Award discusses whether Continuing Employees are third-

 party beneficiaries to the Merger Agreement. Id. The Cornet Plaintiffs’ motion is accompanied by

 a copy of the Confidential Award (D.I. 115-3) as well as a two-page proposed amicus brief that

 purports to reiterate the reasoning in the Confidential Award (D.I. 115-2). Recognizing the agreed

 upon expressly confidential nature of the Confidential Award, the Cornet Plaintiffs simultaneously

 moved to file the Confidential Award and their amicus brief under seal or, in the alternative, with

 redactions. D.I. 115-1 at 7. The Cornet Plaintiffs have not, however, offered any explanation as to

 why they should be permitted to unilaterally breach the subject claimant’s confidentiality

 obligations under the arbitration agreement that the claimant signed. Although counsel for the

 Cornet Plaintiffs apparently conferred with counsel for the Arnold Plaintiffs regarding their

 proposed amicus brief before filing the instant motion, they did not confer with Twitter. See D.I.

 115-1 at 5; D.I. 111 at n.3.

 IV.    STANDARD OF REVIEW

        Unlike amicus briefs in the Courts of Appeals, which are subject to Federal Rule of

 Appellate Procedure 29, there is no rule that governs the filing of amicus briefs in the district

 courts, where amicus briefs are both less common and “less appropriate than at the appellate

 level[.]” United States v. Farber, 2006 WL 2417272, at *1 (D.N.J. Aug. 21, 2006). Nonetheless,

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 district courts often look to Rule 29 for guidance when deciding whether to permit leave to file an

 amicus brief. See, e.g., In re Weinstein Co. Holdings, LLC, 2020 WL 1320821, at *1 n.3 (D. Del.

 Mar. 20, 2020).

        Under Rule 29, leave should be denied unless the movant demonstrates that they have an

 “sufficient interest” in the case and that their brief is both “desirable” and “relevant” such that it

 would be helpful to the Court. Neonatology Assocs., P.A. v. Comm’r of Internal Rev., 293 F.3d

 128, 129, 131 (3d Cir. 2002). In making this determination, courts consider a wide variety of

 factors, including whether “(1) the amicus curiae has a ‘special interest’ in the particular case; (2)

 the amicus curiae’s interest is not represented competently or at all in the case; (3) the proffered

 information is timely and useful; and (4) the petitioner is not partial to a particular outcome in the

 case.” Granillo v. FCA US LLC, 2018 WL 4676057, at *4 (D.N.J. Sept. 28, 2018) (quoting Prof’l

 Drug Co. Inc. v. Wyeth Inc., 2012 WL 4794587, at *1 (D.N.J. Oct. 3, 2012)).

 V.     ARGUMENT

        The Cornet Plaintiffs’ proposed amicus brief comes to this Court as a Trojan horse. Its

 purpose is not to help the Court, but to enter into the record a confidential arbitration award, issued

 in an unrelated third-party arbitration. The Cornet Plaintiffs’ attempt to enter the Confidential

 Award into the record under the guise of an amicus brief is not only highly inappropriate, but not

 particularly helpful. Even a cursory review of the Cornet Plaintiffs’ proposed brief and the

 accompanying Confidential Award reveals that the submissions merely reiterate less-developed

 versions of the same arguments that have already been raised by the Arnold Plaintiffs and rejected

 by the Magistrate Judge. Because the Cornet Plaintiffs have failed to demonstrate that their

 proposed brief is helpful or desirable, the Court should deny their motion for leave.




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         A.      The Proposed Amicus Brief’s Biased and Cursory Articulation of Arguments
                 Already Before the Court is Unhelpful.

         As the Cornet Plaintiffs’ motion for leave makes clear, the sole purpose of their proposed

 amicus brief is to provide the Court with the Confidential Award so that the Court can consider its

 brief discussion about whether Continuing Employees may be third-party beneficiaries to the

 Merger Agreement. Of course, the Confidential Award is not binding on this Court, and neither

 the Cornet Plaintiffs nor the Arnold Plaintiffs argue otherwise. See D.I. 115-1 at 6-7 (framing the

 Confidential Award as “relevant authority”); D.I. 111 at n.3 (stating that the Court should

 “consider [the arbitration] jurists’ contrary reasoning”). The Confidential Award also fails to

 constitute persuasive authority. Besides being wrongly decided for the reasons outlined in

 Twitter’s motion to dismiss and Judge Burke’s R&R, the Confidential Award lacks any semblance

 of developed legal reasoning. The section of the Confidential Award discussing the third-party

 beneficiary issue consists of only five sentences that string together basic statements of contract

 law but fail to engage in any discussion of the relevant contrary law or its meaningful application

 to the facts. D.I. 115-3 at 8-9. This cursory and conclusory discussion of the issue does not offer

 any insights from which the Court might benefit, and neither does the proposed amicus brief that

 purports to summarize it.

         Moreover, the Cornet Plaintiffs’ proposed amicus brief and the Confidential Award do not

 present the Court with anything new of substance. See Voices for Choices v. Ill. Bell Tel. Co., 339

 F.3d 542, 545 (7th Cir. 2003) (noting that an amicus brief is only helpful to the extent that it

 “present[s] ideas, arguments, theories, insights, facts, or data that are not to be found in the parties’

 briefs”). The Confidential Award simply echoes, in an entirely conclusory fashion, a less-

 developed version of the same exact arguments already before the Court in the Arnold Plaintiffs’

 briefs, without introducing the Court to any unexplored propositions of law or sources of authority.


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 The Confidential Award’s five-sentence discussion regarding the third-party beneficiary issue

 recites the same three arguments that the Arnold Plaintiffs have now raised in two different rounds

 of briefing—first in their objection to Twitter’s motion to dismiss and later in their objection to

 the R&R—and that the Judge Burke analyzed and rejected in issuing his recommendation.3 And

 three out of the five cases that the Confidential Award cites were exhaustively discussed in the

 Arnold Plaintiffs’ objection to the motion to dismiss, then again in the Magistrate Judge’s R&R,

 and then a third time in the Arnold Plaintiffs’ objection to the R&R.4 See D.I. 24 at 10-13

 (discussing Wilmington Hous. Auth. v. Fid. & Deposit Co. of Md., 47 A.2d 524 (Del. 1946), Dolan

 v. Altice USA, Inc., 2019 WL 2711280 (Del. Ch. June 27, 2019), and Crispo v. Musk, 2022 WL

 6693660 (Del. Ch. Oct. 11, 2022)); D.I. 110 at 11-16 (same); D.I. 111 at 5, 12-13 (same).

        Nor does the Cornet Plaintiffs’ amicus brief, which purports to characterize the reasoning

 in the Confidential Award, provide the Court with anything new. The Cornet Plaintiffs have the

 same perspective as the Arnold Plaintiffs (i.e., former employees claiming an entitlement to

 severance benefits under the Merger Agreement), advance the same theory (i.e., that they are third-

 party beneficiaries to the Merger Agreement), and seek the same remedies (i.e., contract damages




 3
   Compare D.I. 115-3 at 8 with D.I. 24 at 9-11 (arguing that Continuing Employees were intended
 beneficiaries); D.I. 111 at 12 (same); and D.I. 110 at 11-12 (rejecting the same). Compare D.I.
 115-3 at 8-9 with D.I. 24 at 10 (arguing that third-party beneficiary rights should be recognized
 where no other party could enforce the provision); D.I. 111 at 13 (same); and D.I. 110 at 17
 (rejecting the same). Compare D.I. 115-3 at 9 with D.I. 24 at 10 (arguing that a no third-party
 beneficiary clause is irrelevant where the contract is unambiguous); D.I. 111 at 11 (same); and D.I.
 110 at 13 (rejecting the same).
 4
   The other two cases cited in the Confidential Award add nothing to the Court’s analysis. One of
 the cases—Port Auth. of N.Y. & N.J. v. Brooklyn Union Gas Co., 179 A.D.3d 1106 (N.Y. Ct. App.
 2019)—discusses New York contract law, which is not applicable here. The other case—Pedrick
 v. Roten, 70 F. Supp. 3d 638 (D. Del. 2014)—simply defines intended and incidental beneficiaries
 in essentially the same way as the cases already cited by the Arnold Plaintiffs and the Magistrate
 Judge.
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 and declaratory relief). As a result, no legitimate reason exists to allow the Cornet Plaintiffs’

 proposed amicus filing. See United States v. El-Gabrowny, 844 F. Supp. 955, 957 n.1 (S.D.N.Y.

 1994) (noting that amicus briefs are meant to “offer insights not available from the parties” and

 denying leave where the proposed amicus briefs did not “offer[] any argument or point of view

 not available from the parties themselves”). Because the Cornet Plaintiffs’ perspectives and

 theories have already been adequately represented to the Court through the Arnold Plaintiffs, their

 involvement is unnecessary and unhelpful. See Dobson Mills Apartments, L.P. v. City of

 Philadelphia, 2022 WL 558348, at *1 (E.D. Pa. Feb. 23, 2022) (noting that courts “routinely deny

 amicus participation when it is unnecessary, and the interest of the amicus are adequately protected

 in the case”); Granillo, 2018 WL 4676057, at *5 (noting that “courts tend to reject proposed amicus

 brief when parties are adequately represented by competent counsel”) (internal citation omitted).

 It is of no benefit to the Court to allow another advocate with the same perspective as the Arnold

 Plaintiffs into the arena, only to repeat arguments already before the Court. See Wright & Miller,

 Federal Practice & Procedure § 3975 (5th ed. 2024) (“an amicus ought to add something

 distinctive to the presentation of issues, rather than serving as a mere conduit for the views of one

 of the parties.”).

         Beyond being redundant, the Cornet Plaintiffs’ perspectives are “patently partisan” and

 motivated solely by self-interest. In re Weinstein Co. Holdings LLC, 2020 WL 1320821, at n.3

 (“Courts will deny leave in instances where the arguments and the facts in the brief are patently

 partistan[.]”). The Cornet Plaintiffs’ clear bias provides further reason to deny their motion. See,

 e.g., Dobson Mills, 2022 WL 558348, at *2 (“Although not dispositive, a party’s lack of

 impartiality is a factor to consider”) (internal citation omitted); Wyeth Inc., 2012 WL 4794587, at

 *2 (denying leave to file an amicus brief where the movant was a “a litigant in past and present



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 proceedings in which similar issues have arise or may arise” and therefore was “significantly

 partial to a particular outcome in th[e] case”). An amicus curiae, as a “friend of the court,” is meant

 to be “an impartial individual who suggests the interpretation and status of the law, gives

 information concerning it, and whose function is to advise in order that justice may be done, rather

 than to advocate appoint of view so that a cause may be one by one party or another.” Farber,

 2006 WL 2417272, at *1 (quoting Leigh v. Engle, 535 F. Supp. 418, 419 (N.D. Ill. 1982)). Here,

 the Cornet Plaintiffs’ stated purpose in filing their brief is to assist the Arnold Plaintiffs in

 achieving a victory so that they may ride the Arnold Plaintiffs’ coattails. The Cornet Plaintiffs are

 thus “better characterized as an ‘amicus reus’ or friend of the Plaintiff, than amicus curiae.”

 Dobson Mills, 2022 WL 558348, at *2.

         At bottom, neither the five-sentence discussion in the Confidential Award nor the two-page

 proposed amicus brief contribute anything of substance that has not already been extensively

 covered by the Arnold Plaintiffs’ briefing and the Magistrate Judge’s R&R, and the motivation

 behind the Cornet Plaintiffs’ filings is purely self-interested. Accordingly, these submissions are

 unhelpful to the Court under even the most lenient standard and should be rejected. See Fed. R.

 App. P. 29, Advisory Committee Notes (1998) (an amicus brief that does not “bring[] relevant

 matter to the attention of the Court that has not already been brought to its attention by the

 parties . . . simply burdens the staff and facilities of the Court and its filing is not favored.”).

         As further explained below, because the proposed amicus brief seeks to enter confidential

 material into the record, granting leave to file the brief would only add to the Court’s burden by

 embroiling the Court in unnecessary and tangential confidentiality disputes. Before allowing the

 Cornet Plaintiffs to file their proposed amicus brief, the Court would first need to analyze the

 DRA—a contract entered into by a non-party that is wholly unrelated to the Merger Agreement at



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 issue in this case—in order to determine whether the Confidential Award can be appropriately

 submitted and considered. Doing so would consume the Court’s already limited time and

 resources, and the five sentences of cursory and redundant thoughts about third-party beneficiary

 status in the Confidential Award are, simply put, not worth the effort. See, e.g., McDonough v.

 Horizon Healthcare Servs., Inc., 2014 WL 3396097, at *12 (D.N.J. July 9, 2014) (denying leave

 to file an amicus brief where the brief did not “contribute to the Court’s understanding” but instead

 “hampered the Court in fulfilling its obligation to determine [the issue at hand] by consuming

 judicial resources and time with issues that fail to illuminate [the relevant] assessment”). Because

 the Cornet Plaintiffs’ proposed brief would detract from, rather than aid in, the Court’s resolution

 of the issues at hand, leave should be denied.

        B.      The Arbitration Award is Confidential and Not Properly Before the Court.

        Even if the Confidential Award presented some usefulness for the Court (which it does

 not), leave should nonetheless be denied because the Confidential Award should not be before the

 Court. The DRA under which the arbitration proceeded states, in no uncertain terms, that no party

 “may disclose the existence, content, or results of any arbitration hereunder” unless disclosure

 is (1) consented to in writing by the parties or (2) “permitted or required by law.” Cornet Action

 D.I. 18-1 at 15, 25.5 Neither exception to the DRA’s confidentiality provision is satisfied here, and

 the Cornet Plaintiffs have made no attempt (and therefore have waived any attempt) to argue

 otherwise.

        As an initial matter, there is no indication that the Cornet Plaintiffs obtained the arbitration

 claimant’s consent to file this Confidential Award. Indeed, the Cornet Plaintiffs’ request to redact

 the claimant’s name and identifying information appears to suggest that they did not obtain his


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  The DRA signed by the claimant in the relevant arbitration is identical to two of the DRAs
 submitted to the Court in the Cornet Action. See Declaration of Walter Gilbert ¶ 6.
                                                  11
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 consent prior to filing. At the very least, it indicates that the claimant seeks to selectively enforce

 the DRA’s confidentiality protections to the extent it benefits him but not Twitter (i.e., “have his

 cake and eat it too”).6

        Moreover, even if the claimant had agreed to disclosure of the Confidential Award (which

 appears questionable), Twitter did not. The Cornet Plaintiffs did not attempt to confer with Twitter

 prior to filing their proposed amicus brief, much less obtain Twitter’s written consent to forgo

 the explicit confidentiality protections in the DRA. Twitter does not agree to waive its bargained-

 for right to confidentiality, which it relied on when entering into the DRA and participating in the

 arbitration proceedings.

        In addition, no basis in law exists to either “require” or “permit” disclosure of the

 Confidential Award. Because “[a]rbitration is fundamentally a creature of contract,” arbitration

 must be carried out according to the terms and conditions agreed upon by the parties. Allstate

 Settlement Corp. v. Rapid Settlements, Ltd., 559 F.3d 164, 169 (3d Cir. 2009). Respect for terms

 that safeguard the confidentiality of arbitration proceedings is particularly important, given that

 “confidentiality is a paradigmatic aspect of arbitration[.]” Guyden v. Aetna, Inc., 544 F.3d 376,

 385 (2d Cir. 2008); see also id. (noting that confidentiality provisions are “so common in the

 arbitration context” that an “attack on the confidentiality provision is, in part, an attack on the

 character of arbitration itself”) (quoting Iberia Credit Bureau Inc. v. Cingular Wireless, LLC, 379

 F.3d 159, 175 (5th Cir. 2004)). If arbitration claimants or their counsel were able to freely share

 favorable decisions with other litigants to use to their advantage, arbitration would lose its



 6
   Twitter agrees that, given the important confidentiality concerns at stake, the Cornet Plaintiffs’
 filings should remain under seal. However, if the filings are ever unsealed, Twitter objects to the
 Cornet Plaintiffs’ request to redact the claimant’s name and identifying information, as it would
 be inequitable to allow the claimant to benefit from the protections of the confidentiality provision
 while denying Twitter that same benefit.
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 characteristic “simplicity, informality, and expedition” because parties would insist on trial-like

 protections to safeguard against the detrimental use of arbitration decisions in other actions. See

 Iberia Credit Bureau, Inc., 379 F.3d at 175-76 (“If every arbitration were required to produce a

 publicly available, ‘precedential’ decision on par with a judicial decision, one would expect that

 parties contemplating arbitration would demand discovery similar to that permitted under Rule 26,

 adherence to formal rules of evidence, more extensive appellate review, and so forth[.]”); see also

 Grp. Health Plan, Inc. v. BJC Health Sys., Inc., 30 S.W.3d 198, 203-04 (Mo. Ct. App. 2000) (“Few

 parties would be willing to submit confidential materials to an arbitrator knowing that those

 materials could then be freely discovered in future unrelated proceedings regardless of any actions

 taken to ensure confidentiality.”). Considering the “important policy interest involved in protecting

 the expectations of confidentiality belonging to parties who have chosen an alternative means of

 dispute resolution,” courts have rejected similar attempts to bypass confidentiality protections in

 arbitration contracts. See Fireman’s Fund Ins. Co. v. Cunningham Lindsey Claims Mgmt., Inc.,

 2005 WL 1522783, at *3 (E.D.N.Y. June 28, 2005) (holding that a plaintiff was not entitled to

 production of a confidential arbitration award between the defendant and a third-party “absent

 extraordinary circumstances or a compelling need”); see also Grp. Health Plan, Inc., 30 S.W.3d

 at 205 (upholding an injunction preventing a plaintiff from obtaining confidential arbitration

 awards between the defendant and a third-party).

        The Fifth Circuit’s reasoning under analogous circumstances in ITT Educational Services,

 Inc. v. Arce is instructive. 533 F.3d 342 (5th Cir. 2008). That case involved a number of arbitrations

 filed by the same attorney against the same defendant. Id. at 343-44. The attorney sought to enter

 prior arbitration awards into evidence in a subsequent arbitration, notwithstanding the terms of the

 arbitration contract prohibiting disclosure of arbitration awards. Id. at 344. The defendant sought



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 and obtained a preliminary injunction preventing the attorney from disclosing the prior arbitration

 awards, and the Fifth Circuit affirmed. Id. at 348. The court reasoned that the attorney’s actions

 threatened the defendant with “irreparable harm because there is ‘no cure for the breach of the

 confidentiality agreement,’” but would not impose any undue hardship on the arbitration claimant.

 Id. at 347 (quoting Toon v. Wackenhut Corr. Corp., 250 F.3d 950, 954 (5th Cir. 2001)). In so

 holding, the court rejected the argument that prohibiting the use of the arbitration awards would

 “hamper[] [the arbitration claimant’s] ability to prove his case,” noting that the claimant was “free

 to pursue his case in the same manner as any other litigant,” so long as he did not “rely upon

 confidential evidence developed during” the prior arbitration proceedings. Id.

        Similarly in the present action, the Cornet Plaintiffs should not be permitted to obtain and

 weaponize a confidential arbitration award simply because they happened to retain the same

 counsel as the claimant. And they certainly should not be granted discretionary leave to file the

 Confidential Award in an unrelated proceeding in an attempt to influence the Court’s decision to

 their benefit. The Court should respect and enforce the terms of the DRA and reject the Cornet

 Plaintiffs’ attempt to circumvent its confidentiality protections.

 VI.    CONCLUSION
        For the foregoing reasons, Twitter respectfully requests that this Court deny the Cornet

 Plaintiffs’ motion for leave to file their proposed amicus brief.

  Dated: January 2, 2025                            MORGAN, LEWIS & BOCKIUS LLP
                                                     /s/ Jody C. Barillare
                                                    Jody C. Barillare (#5107)
                                                    1201 N. Market Street, Suite 2201
                                                    Wilmington, Delaware 19801
                                                    302-574-7294
                                                    jody.barillare@morganlewis.com
                                                    Attorneys for Defendants X Corp. f/k/a Twitter,
                                                    Inc. and X Holdings Corp. f/k/a X Holdings I,
                                                    Inc.


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